                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN

Lokesh Wuluvarana,

             Plaintiff,
                                            Case No. 2022-CV-00982
       v.

John Does #1-3,

             Defendants.



 MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR EXPEDITED
                    DISCOVERY ORDER

   This present action arises out of a cryptocurrency scam where

Defendant John Doe #1-3 (“Does”) thoroughly exploited Plaintiff through

an online cryptocurrency trading website, CoinDexEC, which they

owned, operated, and controlled.

    Does, directly or through an agent, electronically solicited Plaintiff

and other unsuspecting cryptocurrency investors to send cryptocurrency

to CoinDexEC and make trading transactions through CoinDexEC. Doe

#1, an individual using the alias of Anthony Crown, directly

communicated with Plaintiff on Telegram on behalf of CoinDexEC to

make false representations of safe and lucrative returns on his

investment, causing Plaintiff to transfer cryptocurrency of significant

monetary value (“assets”) to CoinDexEC when these assets were not

actually being traded or invested, but rather simply being stolen by Does.

However, his continued misrepresentations to Plaintiff regarding the

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Case 2:22-cv-00982-PP      Filed 09/20/22   Page 1 of 25   Document 4
growing value of his CoinDexEC trading portfolio caused Plaintiff to keep

sending his assets to serve as seed money for more trading transactions.

When Plaintiff tried to withdraw his assets from the CoinDexEC trading

portfolio, Doe #1 simply disappeared, and the CoinDexEC website shut

down.

   As alleged in the accompanying Complaint, this fraudulent scheme

has caused Plaintiff to transfer a total of 5.66 Bitcoin (“BTC”) and 70.14

Ethereum (“ETH”) to Does.

   Thereafter, Plaintiff engaged a professional cryptocurrency tracing

and investigative firm, Coinstructive, to trace the whereabouts of the

BTH and ETC that had been sent out from Plaintiff’s personal

cryptocurrency wallets and deposited into the addresses that were

provided to Plaintiff on the CoinDexEC website and are owned, operated,

and controlled by Does. The firm has successfully traced a substantial

portion of Plaintiff’s assets through accounts held at Coinbase, Binance

and Gemini (“exchange accounts”), centralized cryptocurrency exchange

platforms that require personal identification documents for the

accountholders. Exhibit A (Declaration of Chris Groshong).

   Plaintiff requests an order permitting Plaintiff to engage in expedited

discovery from Coinbase, Binance and Gemini for documents and

information pertaining to Does. Plaintiff needs Coinbase, Binance and

Gemini to identify the accountholders of the Coinbase, Binance and

Gemini accounts (e.g., name, physical address, mailing/contact address),


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Case 2:22-cv-00982-PP     Filed 09/20/22   Page 2 of 25   Document 4
so that he can properly name Does in this lawsuit, serve Does, and

provide due notice to Does. Plaintiff’s proposed subpoenas are attached

as Exhibit B.

   Federal courts have broad power to require early document

production and to permit expedited discovery. Fed. R. Civ. P. 26(d), 30(b)

& 34(b). Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). In

the Eastern District of Wisconsin, courts have applied the Notaro

standard, which requires the movant [to] demonstrate four elements to

help the court decide whether to allow an expedited discovery schedule:

(1) irreparable injury; (2) some probability of success on the merits; (3)

some connection between the expedited discovery and the avoidance of

irreparable injury; and (4) some evidence that the injury that will result

without expedited discovery is greater than the injury a party will suffer

if the expedited relief is granted. Edgenet, Inc. v. Home Depot U.S.A., Inc.,

259 F.R.D. 385, 386 (E.D. Wis. 2009) (citing Notaro v. Koch, 95 F.R.D.

403, 405 (S.D.N.Y. 1982)); see also Sheridan v. Oak Street Mortg., LLC,

244 F.R.D. 520, 521 (E.D. Wis. 2007); Centrifugal Acquisition Corp. v.

Moon, No. 09-C-327, 2009 WL 1249294, at *1 (E.D. Wis. May 6, 2009).

   Moreover, “[c]ourts allow discovery to identify Doe defendants, and

courts allow expedited discovery where good cause is shown.” Pioneer Hi-

Bred Int’l, Inc. v. Does, Case No. 12-06046-cv-SJ-DGK, 2012 WL

12910607, at *1 (W.D. Mo. May 18, 2012) (granting expedited discovery

from non-party to identify Doe Defendants’ identities). “Under the good


                                      3

Case 2:22-cv-00982-PP      Filed 09/20/22   Page 3 of 25   Document 4
cause standard, the party requesting expedited discovery must show that

the need for expedited discovery, in consideration of [the] administration

of justice, outweighs prejudice to [the] responding party.” Monsanto Co. v.

Woods, 250 F.R.D. 411, 413 (E.D. Mo. 2008).

   Plaintiff will suffer irreparable injury if expedited discovery is not

granted. The assets could be moved about to locations out of reach of the

jurisdiction of US courts. Plaintiff is also likely to succeed on the merits

as he was scammed as detailed in the Complaint. There is no defense to

the plain theft that Plaintiff experienced. Expedited discovery will allow

Plaintiff to avoid the irreparable injury of forever losing his assets into

oblivion because the information Coinbase, Binance and Gemini have

regarding Does will permit Plaintiff to identify Does and employ

appropriate legal measures, including identifying and issuing third-party

subpoenas on any other cryptocurrency exchange, wallet operator, or

financial institution to which Plaintiff’s assets may have been further

transferred, seeking asset freeze orders, and even alerting appropriate

government agencies.

   Plaintiff’s injury without expedited discovery will be greater than

injury that the Does would suffer with expedited discovery. Defendants

are not even asked to produce anything. Rather, third parties are being

issued subpoenas.

   Additionally, the discovery Plaintiff seeks is narrowly drawn and

focused solely on Does’ identities and the accounts Does owned,


                                       4

Case 2:22-cv-00982-PP      Filed 09/20/22   Page 4 of 25   Document 4
operated, or controlled, wholly or in part, as those accounts pertain to

the central issues in dispute in the Complaint. Coinbase, Binance and

Gemini are already in possession, custody, and control of this

information because federal law requires them to keep Know-Your-

Customer documents relating to their accountholders. This information

should be readily accessible by Coinbase, Binance and Gemini.

Furthermore, at this preliminary stage, Plaintiff’s expedited discovery

efforts are not related to monetary damages or any issues beyond those

that must be resolved.

   There is no burden on Does. Expedited discovery would actually

serve to fulfill Does’ right to due process in defending themselves—once

they appear in this matter—against Plaintiff’s claims of, among other

things, conversion and civil conspiracy.

   Plaintiff is conscious of the inherent burden of discovery. Therefore,

Plaintiff has already drafted a narrowly tailored subpoena to be served

upon Coinbase, Binance and Gemini, respectively, that set forth the

requests which he intends to employ to ensure the full, fair, and efficient

development of the record necessary to adjudicate the issues. To the

extent Coinbase, Binance and Gemini’s documents and information

identify any third parties from which Plaintiff could obtain additional

relevant information, Plaintiff will also expeditiously serve narrowly

focused subpoenas.


                                   Conclusion

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Case 2:22-cv-00982-PP     Filed 09/20/22   Page 5 of 25   Document 4
   For the foregoing reasons, Plaintiff Lokesh Wuluvarana respectfully

requests that this Court enter an Order permitting expedited discovery.




                                     Respectfully submitted,

Dated: September 19, 2022            /s/Michael D. Haeberle
                                     Michael D. Haeberle
                                     1437 N. Prospect Ave., Suite 203
                                     Milwaukee, WI 53202
                                     Phone: 414-840-8001
                                     WI Bar No. 1104367
                                     mhaeberle@pattersonlawfirm.com




                                    6

Case 2:22-cv-00982-PP    Filed 09/20/22   Page 6 of 25   Document 4
                         EXHIBIT A




Case 2:22-cv-00982-PP   Filed 09/20/22   Page 7 of 25   Document 4
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WISCONSIN

Lokesh Wuluvarana,

             Plaintiff,
                                             Case No.
       v.

John Does #1-3,

             Defendants.


                      DECLARATION OF CHRIS GROSHONG

I, Chris Groshong, a resident of California, declare as follows:

      1.    Except as otherwise expressly stated to the contrary, I have

personal knowledge of the following facts and, if called as a witness, I could

and would competently testify to the following:

      2.    I am the President of Coinstructive, a national cryptocurrency

analysis and investigative firm. I am trained and experienced in blockchain

analysis and tracing. My firm employs various blockchain analysts and

investigators who are trained and experienced in cryptocurrency transaction

analysis and cryptoasset tracing.

      3.    Cryptocurrency is traceable through unique transaction IDs and

other identifying marks.

      4.    Plaintiff retained my firm in order to trace the whereabouts of his

cryptocurrency in certain transactions he suspected to be fraudulent.

      5.    Based on the information provided by Plaintiff, between August 28

and October 15, 2020, Plaintiff conducted several transactions of

                                         1

       Case 2:22-cv-00982-PP    Filed 09/20/22    Page 8 of 25     Document 4
cryptocurrency, transferring a total 5.66 Bitcoin (“BTC”) and 70.14 Ethereum

(“ETH”) from his personal wallets to various wallet addresses.

      6.    The addresses to which Plaintiff transferred his assets are private

wallet addresses. These addresses do not appear to be trading or investment

wallets, but rather as mere shell intermediaries that acted as a conduit. These

addresses received various assets from other sources, pooled them together,

and transferred them out to other addresses.

      7.    Plaintiff’s assets were eventually located in 12 different addresses

tied to exchange accounts at regulated centralized cryptocurrency exchange

platforms: Coinbase, Binance, and Gemini.

      8.    The following addresses were addresses where funds passed

through after being sent from Plaintiff’s address which may therefore provide

information about the identity of the person or persons who interacted with

Plaintiff to obtain his cryptocurrency, and appear to be associated with the

following exchanges:

Coinbase    3AnzCwQhT8LZ1irPTyC8YQgJeSQT9aHFDQ
Coinbase    3ARQdKdYt4QLpNvzhqWeEErqKaNe8W3yKE
Coinbase    3KXZGE7wfWaGH6zSsKx4nsQQRkSoo59Fcj
Coinbase    3PxonCwG3E4hm3dTFe5GPQ6Tii36sfcxjk
Coinbase    3EWJrNFpkLqW6sphgzaRjv7WGZr225bcCt
Coinbase    3Hyxm1Ek1CJkgoZkhmcpAxc7o7U6S84KUr
Coinbase    395siPfxf1NBMdDXJ9WKo789ESewtb5LWW
Possible
Coinbase    38B1ozpRKdbZfA5Bd4oZALSPQsetTFJYyV
Possible
Coinbase    37stcniTxrAuEPnjJ7kStmuLQ1w24cMvaQ
Possible
Coinbase    37TAkodSiHHdVKZBR4ixq7faDN87ckjxHv
Possible
Coinbase    39N2sTV7EuASarb22CJ4DpW48xdM4Mdh3s

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       Case 2:22-cv-00982-PP    Filed 09/20/22   Page 9 of 25    Document 4
Possible
Coinbase    342pTCekEy5kMbBQjygjhdsQLpQZDYF1f2
Possible
Coinbase    39dSnmChRW8H7QkrGqfM4h8owTHUuYazLq
Binance     1HXPK3k2AAsc2srFAvBnanJVsf6JRUxFSo
Binance     15WGV3Zy6B4Jgct1fXYBfehCTaAGtVrXmH
Binance     193CWFbYVNtHEoSxiiHiiL5xE7HUqDdRo7

Binance     0x3f5ce5fbfe3e9af3971dd833d26ba9b5c936f0be

Binance     0xb60eef65f6aba2dba8d8d0a81e3e836c1709fddc

Binance     0x057ad2a4b1b9683099bc4909cf79a8a8d0cdd6be

Possible    0x98729c89f97801ea2703ed4471351b5e2ff2d192
Binance

Possible    1J2t4iP7ScBtQsr6rytzhPjt9GNMoPbxFV
Binance

Possible    17RKwBetbRAz1LPSJuXFWJYVZrZsGA5L2M
Binance

Possible    143o1WMD8wCMP8XuGW6c7auxo7nGxRkng1
Binance

Gemini      0xd24400ae8bfebb18ca49be86258a3c749cf46853

Gemini      0x5f65f7b609678448494De4C87521CdF6cEf1e932

Possible    0x6a6cc09efe9746d07d78b3d9937a88ad4f65a734
Gemini


      9.    All of my opinions contained in this declaration are to a reasonable

degree of professional certainty.




I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.



________________________
Chris Groshong



                                          3

      Case 2:22-cv-00982-PP      Filed 09/20/22   Page 10 of 25   Document 4
                        &9)*#*5B




Case 2:22-cv-00982-PP   Filed 09/20/22   Page 11 of 25   Document 4
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Eastern District
                                                       __________         of of
                                                                   District  Wisconsin
                                                                                __________
                      Lokesh Wuluvarana
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
                          John Does 1-3                                       )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                                      Coinbase, Inc.

                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place: Patterson Law Firm,                                                             Date and Time:
          200 West Monroe Street, Suite 2025
          Chicago, Illinois 60606

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                  *,1$0&2//(77,
                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                    Case 2:22-cv-00982-PP                       Filed 09/20/22             Page 12 of 25              Document 4
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




                    Case 2:22-cv-00982-PP                      Filed 09/20/22              Page 13 of 25               Document 4
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                     Case 2:22-cv-00982-PP                        Filed 09/20/22              Page 14 of 25                Document 4
                                  Subpoena Rider – Coinbase

1. All documents regarding, reflecting, recording, or memorializing account opening and
   closing, including the account owners’ actual legal name, all proofs of identification
   (such as government-issued photo ID), date of birth, Social Security Number, telephone
   number, electronic mail address, residential/mailing address, and Know Your Customer
   (“KYC”) and Anti-Money Laundering (“AML”) information compiled by Coinbase for the
   accounts associated with the Wallet Addresses (defined below).

2. All documents regarding, reflecting, recording, or memorializing transactions, funding,
   registered funding sources (i.e., bank accounts or other sources of funding), and account
   holdings, including but not limited to transactions into or out of the following wallet
   addresses (the “Wallet Addresses”).
               • 3AnzCwQhT8LZ1irPTyC8YQgJeSQT9aHFDQ
               • 3ARQdKdYt4QLpNvzhqWeEErqKaNe8W3yKE
               • 3KXZGE7wfWaGH6zSsKx4nsQQRkSoo59Fcj
               • 3PxonCwG3E4hm3dTFe5GPQ6Tii36sfcxjk
               • 3EWJrNFpkLqW6sphgzaRjv7WGZr225bcCt
               • 3Hyxm1Ek1CJkgoZkhmcpAxc7o7U6S84KUr
               • 395siPfxf1NBMdDXJ9WKo789ESewtb5LWW
               • 38B1ozpRKdbZfA5Bd4oZALSPQsetTFJYyV
               • 37stcniTxrAuEPnjJ7kStmuLQ1w24cMvaQ
               • 37TAkodSiHHdVKZBR4ixq7faDN87ckjxHv
               • 39N2sTV7EuASarb22CJ4DpW48xdM4Mdh3s
               • 342pTCekEy5kMbBQjygjhdsQLpQZDYF1f2
               • 39dSnmChRW8H7QkrGqfM4h8owTHUuYazLq

3. All transactional logs for all activity in the Coinbase account(s) associated with the Wallet
   Addresses, including but not limited to all holding pages, trade confirmations, beginning
   balance, all trades (whether initiated by JOHN DOE or someone else) or trade orders
   (whether executed or unexecuted), all date/time stamps for each trade, date/time stamps
   showing when each trade was filled (as applicable), account balance following each
   executed trade, the ending balance, and the names and public addresses of all
   counterparties to each trade.

4. All documents regarding, reflecting, recording, or memorializing any suspicion or belief
   held by Coinbase that the account at Coinbase to which the Wallet Address is linked was
   linked to or associated with any other Exchange account(s).

5. Correspondence exchanged by and between Coinbase and the owner of the Wallet
   Addresses.

6. Correspondence exchanged by and between Coinbase and any third-party concerning or
   relating to the Wallet Addresses. NOTE: The requested correspondence is not to include



    Case 2:22-cv-00982-PP          Filed 09/20/22      Page 15 of 25      Document 4
any Suspicious Activity Reports (SARs) filed by Coinbase with any governmental
regulator or other authority, any drafts of such SARs, or any documents that expressly
reference any SARs being filed.




Case 2:22-cv-00982-PP         Filed 09/20/22     Page 16 of 25      Document 4
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Eastern District
                                                       __________         of of
                                                                   District  Wisconsin
                                                                                __________
                      Lokesh Wuluvarana
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
                          John Does 1-3                                       )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                                Binance Holdings, Ltd.

                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place: Patterson Law Firm,                                                             Date and Time:
          200 West Monroe Street, Suite 2025
          Chicago, Illinois 60606

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                  *,1$0&2//(77,
                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                    Case 2:22-cv-00982-PP                       Filed 09/20/22             Page 17 of 25              Document 4
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




                    Case 2:22-cv-00982-PP                      Filed 09/20/22              Page 18 of 25               Document 4
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                     Case 2:22-cv-00982-PP                        Filed 09/20/22              Page 19 of 25                Document 4
                                  Subpoena Rider – Binance

1. All documents regarding, reflecting, recording, or memorializing account opening and
   closing, including the account owners’ actual legal name, all proofs of identification
   (such as government-issued photo ID), date of birth, Social Security Number, telephone
   number, electronic mail address, residential/mailing address, and Know Your Customer
   (“KYC”) and Anti-Money Laundering (“AML”) information compiled by Binance for the
   accounts associated with the Wallet Addresses (defined below).

2. All documents regarding, reflecting, recording, or memorializing transactions, funding,
   registered funding sources (i.e., bank accounts or other sources of funding), and account
   holdings, including but not limited to transactions into or out of the following wallet
   addresses (the “Wallet Addresses”).
               • 1HXPK3k2AAsc2srFAvBnanJVsf6JRUxFSo
               • 15WGV3Zy6B4Jgct1fXYBfehCTaAGtVrXmH
               • 193CWFbYVNtHEoSxiiHiiL5xE7HUqDdRo7
               • 0x3f5ce5fbfe3e9af3971dd833d26ba9b5c936f0be
               • 0xb60eef65f6aba2dba8d8d0a81e3e836c1709fddc
               • 0x057ad2a4b1b9683099bc4909cf79a8a8d0cdd6be
               • 0x98729c89f97801ea2703ed4471351b5e2ff2d192
               • 1J2t4iP7ScBtQsr6rytzhPjt9GNMoPbxFV
               • 17RKwBetbRAz1LPSJuXFWJYVZrZsGA5L2M
               • 143o1WMD8wCMP8XuGW6c7auxo7nGxRkng1

3. All transactional logs for all activity in the Binance account(s) associated with the Wallet
   Addresses, including but not limited to all holding pages, trade confirmations, beginning
   balance, all trades (whether initiated by JOHN DOE or someone else) or trade orders
   (whether executed or unexecuted), all date/time stamps for each trade, date/time stamps
   showing when each trade was filled (as applicable), account balance following each
   executed trade, the ending balance, and the names and public addresses of all
   counterparties to each trade.

4. All documents regarding, reflecting, recording, or memorializing any suspicion or belief
   held by Binance that the account at Binance to which the Wallet Address is linked was
   linked to or associated with any other Exchange account(s).

5. Correspondence exchanged by and between Binance and the owner of the Wallet
   Addresses.

6. Correspondence exchanged by and between Binance and any third-party concerning or
   relating to the Wallet Addresses. NOTE: The requested correspondence is not to include
   any Suspicious Activity Reports (SARs) filed by Binance with any governmental




    Case 2:22-cv-00982-PP         Filed 09/20/22      Page 20 of 25       Document 4
     regulator or other authority, any drafts of such SARs, or any documents that expressly
     reference any SARs being filed.
7.




     Case 2:22-cv-00982-PP         Filed 09/20/22     Page 21 of 25      Document 4
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Eastern District
                                                       __________         of of
                                                                   District  Wisconsin
                                                                                __________
                      Lokesh Wuluvarana
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
                          John Does 1-3                                       )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                            Gemini Trust Company, LLC

                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place: Patterson Law Firm,                                                             Date and Time:
          200 West Monroe Street, Suite 2025
          Chicago, Illinois 60606

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                  *,1$0&2//(77,
                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                    Case 2:22-cv-00982-PP                       Filed 09/20/22             Page 22 of 25              Document 4
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




                    Case 2:22-cv-00982-PP                      Filed 09/20/22              Page 23 of 25               Document 4
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                     Case 2:22-cv-00982-PP                        Filed 09/20/22              Page 24 of 25                Document 4
                                  Subpoena Rider – Gemini

1. All documents regarding, reflecting, recording, or memorializing account opening and
   closing, including the account owners’ actual legal name, all proofs of identification
   (such as government-issued photo ID), date of birth, Social Security Number, telephone
   number, electronic mail address, residential/mailing address, and Know Your Customer
   (“KYC”) and Anti-Money Laundering (“AML”) information compiled by Gemini for the
   accounts associated with the Wallet Addresses (defined below).

2. All documents regarding, reflecting, recording, or memorializing transactions, funding,
   registered funding sources (i.e., bank accounts or other sources of funding), and account
   holdings, including but not limited to transactions into or out of the following wallet
   addresses (the “Wallet Addresses”).
               • 0xd24400ae8bfebb18ca49be86258a3c749cf46853
               •   0x5f65f7b609678448494De4C87521CdF6cEf1e932
               •   0x6a6cc09efe9746d07d78b3d9937a88ad4f65a734


3. All transactional logs for all activity in the Gemini account(s) associated with the Wallet
   Addresses, including but not limited to all holding pages, trade confirmations, beginning
   balance, all trades (whether initiated by JOHN DOE or someone else) or trade orders
   (whether executed or unexecuted), all date/time stamps for each trade, date/time stamps
   showing when each trade was filled (as applicable), account balance following each
   executed trade, the ending balance, and the names and public addresses of all
   counterparties to each trade.

4. All documents regarding, reflecting, recording, or memorializing any suspicion or belief
   held by Gemini that the account at Gemini to which the Wallet Address is linked was
   linked to or associated with any other Exchange account(s).

5. Correspondence exchanged by and between Gemini and the owner of the Wallet
   Addresses.

6. Correspondence exchanged by and between Gemini and any third-party concerning or
   relating to the Wallet Addresses. NOTE: The requested correspondence is not to include
   any Suspicious Activity Reports (SARs) filed by Gemini with any governmental regulator
   or other authority, any drafts of such SARs, or any documents that expressly reference
   any SARs being filed.




    Case 2:22-cv-00982-PP         Filed 09/20/22      Page 25 of 25      Document 4
